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Civil Action No.          3:21-cv-1128




                                                                            PROOF OF SERVICE

                        (This section should not be filed with the court unless required by Fed. R. Ci. P. 4 (I))




                                  f individual and title, if any)
           This summons for (name o                                                      NEWEGG, I N C .
                                                                                         ­
was received by me on (date)                        8/3/2021
                                                   ----------


           J I personally served the summons on the individual at                             (place)



                                                                                                    on (date)                                ; or




           0 I left the summons at the individual's residence or usual place of abode with (name)


                                                                                   , a person of suitable age and discretion who resides there,
          ----------------
           on (date)                                                ' and mailed a copy to the individual's last known address; or
                          --------


          Xl I served the summons on                         (name o
                                                                   f individual)        L Y N A N N E GARES ( M A N A G I N G AGENT)                   . wh o   is


           designated b y_ l a y to accept service of process on behalf of (ame of organization)                                     NEWEGG, I N C .
                CIO CORPORATION SERVICE CO

                at 251   LITTLE FALLS DR. WI L M I N G T O N , DE                                   on (date)   8/3/2021                     ; or
          as RegisteredAgent.Accepted
          -                        byLynanne Gares
                                                 (managing
                                                        agent)
                at 12:30 pm

           0     I returned the summons unexecuted because                                                                                                 ; or




           J Other (specify):




           My fees a r e $                                          for travel and $                    for services, for a total of$               0.00




           I declare under penalty of perjury that this information is true.




Date:      8/3/2021

                                                                                                                Server's signature
                                                                                       KEVIN S. D U N N




                                                                                                            Printed name and title




                                                                                                                                                    2021002567

                                                                                                                Server's address




 Additional information regarding attempted service, etc:


                                  SERVED: S U M M O N S IN A CIVIL ACTION & CLASS ACTION C O M P LA I N T .
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AO 440 (Rev. 06/12)   Summons in a Civil Action




                                       UNITED STATES DISTRICT COURT
                                                                         for the


                                                                  District of Oregon




                                                                               )
 BRITTAINY SHAW, individually and on behalf of all
                                                                               )
                  others similarly situated,
                                                                               )

                                                                               )

                                                                               )
                             Plaintiff(s)
                                                                               )
                                  V.                                               Civil Action No.      3 : 2 1 - c v - 1 1 2 8 - IM
                                                                               )

                         NEWEGG, I N C . ,                                     )

                                                                               )

                                                                               )

                                                                               )

                            Defendant(s)                                       )




                                                       SUMMONS IN A CIVIL ACTION




To: (Defendant's name and address)          Newegg, Inc.

                                            Registered Agent:

                                            Corporation Service Company

                                            251   LITTLE FALLS DRIVE

                                            WILMINGTON DE 1 9 8 0 8




          A lawsuit has been filed against you.



          Within 2 1 days after service of this summons on you (not counting the day you received it) - or 60 days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.

P. l2 (a)(2) or ( 3 ) - y o u must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure.              The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are:                 Susan G. Steinman

                                            OSB # 1 0 6 9 1 8

                                            9 1 4 5 Wallace Road NW Salem, OR 97304

                                            Telephone: (503) 5 1 2 - 9 1 4 1

                                            steinman.lawoffice@gmail.com




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.




                                                                                                          TI,          Clerk of Court




      Date:   08/02/2021                                                                                         Deputy Clerk


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                                                                                                !>
                                                                                           ' T M E
